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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 In re:                                    Chapter 7
                                           Case No. 16-12928

 Dennis Kovalsky,

                                           Hon. Deborah L. Thorne

            Debtor.




 PHILLIP D. LEVEY, not                     Adv. P. 18-00062
 individually, but solely as
 Trustee of the Chapter 7
 Bankruptcy Estate of Dennis A.
 Kovalsky,

                       Plaintiff,
 v.

 LINDA M. KOVALSKY,

                       Defendant.

                               DRAFT ORDER SETTING BRIEFING
                            SCHEDULE ON PLAINTIFF’S MOTION FOR
                           SUMMARY JUDGMENT ON COUNTS I AND II
          This matter having been presented on the Plaintiff’s Motion For Summary Judgment on

Counts I and II of Complaint (the “Summary Judgment Motion”), and the Summary Judgment

Motion having been presented to the Court on January 14, 2021, at 9:30 AM, and the Plaintiff

having appeared through counsel and Defendant not appearing, the Court hereby orders that:

          1. Defendant shall have until February 11, 2021, to file a response to the Summary

              Judgment Motion.

          2. Plaintiff shall have until February 25, 2021, to file a reply to the Summary Judgment


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       Motion.

   3. This matter is set for further hearing on March 4, 2021, at 9:30 AM.

   4. Absent further order of Court, the hearing on March 4, 2021, shall proceed

       electronically using Zoom for Government. No personal appearance in

       court is necessary or permitted. To appear and be heard, parties must do

       the following:

            a. To appear by video, use this link: https://www.zoomgov.com/.

                Then enter the meeting ID.

            b. To appear by telephone, call Zoom for Government at 1-669-254-

                5252 or 1-646-828-7666. Then enter the meeting ID.

   5. Meeting ID and password. The meeting ID for this hearing is

       16093621728 –no password is required. The meeting ID and further

       information can also be found on Judge Thorne’s web page on the court’s

       web site at http://ilnb.uscourt.gov

   6. Plaintiff will send a copy of this order by United States Mail by the end of

       the day, January 15, 2021.



      January 14, 2021                  ENTERED:


                                        ____________________________
                                        Deborah Thorne, United States Bankruptcy
                                        Judge




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